                  Case 2:12-cr-00327-WBS Document 73 Filed 08/13/14 Page 1 of 3



 1 PATRICK K. HANLY (Bar #128521)
   431 I Street Suite 201
 2 Sacramento, CA 95814
   Telephone: (916) 773-2211
 3 Facsimile: (916) 440-9610

 4 Attorney for Defendant
   Svetlana Dubinsky
 5

 6

 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. Cr. 12-327 WBS
12                                  Plaintiff,             STIPULATION TO VACATE TRIAL
                                                           DATE AND SET NEW DATE FOR
13   v.                                                    CHANGE OF PLEA; EXCLUDABLE
                                                           TIME PERIODS UNDER SPEEDY
14   SVETLANA DUBINSKY ,                                   TRIAL ACT; [PROPOSED] FINDINGS
                                                           AND ORDER
15                                  Defendant,
16

17
                                                 STIPULATION
18
             Plaintiff United States of America, by and through its counsel of record, and defendant
19
20 Svetlana Dubinsky, by and through her counsel of record, Patrick K. Hanly, hereby stipulate as

21 follows:

22           1.       The parties request that the August 18, 2014, trial confirmation hearing date for
23
     Svetlana Dubinsky and the trial date currently set in her case for September 9, 2014, be vacated.
24
     The parties further request that this case be set on calendar for a change of plea on September 15,
25
     2014.
26
             2.       By this stipulation, the defendant now moves to exclude time between September 9,
27

28 2014 and September 15, 2014 under Local Code T4. Plaintiff does not oppose this request.
                                                 1
29

30
                 Case 2:12-cr-00327-WBS Document 73 Filed 08/13/14 Page 2 of 3


            3.       The parties agree and stipulate, and request that the Court find the following:
 1
            a.       The government has produced approximately 40,000 pages of discovery associated
 2

 3 with this case.

 4          b.       Counsel for defendant requests additional time to review discovery, to conduct
 5 investigation and research related to the charges and to discuss potential resolutions with his client.

 6
     The parties have reached an agreement to resolve the case and need additional time to finalize the
 7
     agreement.
 8
            c.       Counsel for defendant believes that failure to grant the above-requested continuance
 9

10 would deny them the reasonable time necessary for effective preparation, taking into account the

11 exercise of due diligence.

12          d.       The government does not object to the continuance.
13          e.       Based on the above-stated findings, the ends of justice served by continuing the case
14
     as requested outweigh the interest of the public and the defendants in a trial within the original date
15
     prescribed by the Speedy Trial Act.
16
            f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
17

18 seq., within which trial must commence, the time period of September 9, 2014, to September 15,

19 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
20 because it results from a continuance granted by the Court at defendant’s request on the basis of the

21
     Court's finding that the ends of justice served by taking such action outweigh the best interest of the
22
     public and the defendant in a speedy trial.
23
            4.       Nothing in this stipulation and order shall preclude a finding that other provisions of
24
     the Speedy Trial Act dictate that additional time periods are excludable from the period
25
26 within which a trial must commence.

27

28
                                                         2
29

30
            Case 2:12-cr-00327-WBS Document 73 Filed 08/13/14 Page 3 of 3


     IT IS SO STIPULATED.
 1

 2
     DATED: 8-11-14.             /s/ Todd Pickles_____________
 3                               Assistant United States Attorney
 4

 5 DATED: 8-11-14                /s/ Patrick K. Hanly
                                 Counsel for Defendant Svetlana Dubinsky
 6

 7

 8
                                        ORDER
 9

10        IT IS SO FOUND AND ORDERED.
11 Dated: August 12, 2014

12

13

14

15

16

17

18

19
20

21

22

23

24

25
26

27

28
                                             3
29

30
